Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4489 Filed 02/05/21 Page 1 of 49




                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


  TIMOTHY KING, MARIAN
  SHERIDAN,
  JOHN HAGGARD, CHARLES
  RITCHARD,
  JAMES HOOPER, DAREN
  RUBINGH,

        Plaintiffs,                            CASE NO. 2:20-cv-13134
  v.                                           Hon. Linda V. Parker
  GRETCHEN WHITMER, in her official            Mag. R. Steven Whalen
  capacity as the Governor of the State of
  Michigan, JOCELYN BENSON, in her
  official capacity as Michigan Secretary of
  State and the Michigan BOARD OF
  STATE CANVASSERS,
        Defendants,
  and
  CITY OF DETROIT, DEMOCRATIC
  NATIONAL COMMITTEE and
  MICHIGAN DEMOCRATIC PARTY,
       Intervenor-Defendants.
        Defendant.




     PLAINTIFFS’ SUPPLEMENTAL OPPOSITION TO THE CITY OF
  DETROIT’S MOTION FOR SANCTIONS, FOR DISCIPLINARY ACTION,
  FOR DISBARMENT REFERRAL AND FOR REFERRAL TO STATE BAR
    DISCIPLINARY BODIES AND TO THE DEFENDANTS WHITMER
   AND BENSON’S CONCURRENCE IN CITY OF DETROIT’S MOTION
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4490 Filed 02/05/21 Page 2 of 49




                                       FOR SANCTIONS


           The City of Detroit’s Motion for Sanctions, for Disciplinary Action, for

  Disbarment Referral And for Referral To State Bar Disciplinary Bodies is baseless,

  procedurally improper, and is an attempt to create a dangerous precedent that could

  dissuade future civil rights and voting rights plaintiffs from bringing their disputes to

  court. It should be denied, and the City of Detroit should be ordered to pay Plaintiffs’

  fees and costs incurred in opposing the motion.


                                          Issue Presented



  Whether Plaintiffs and their’ counsel should be sanctioned under Rule 11, Plaintiffs’
  counsel disbarred or referred to State Bar Disciplinary Bodies: No.


                                      Controlling Authority
  Cases
  Beverly v. Sherman, No. 2:19-CV-11473, WL 2556674 (E.D. Mich. May 20, 2020)
  DeBauche v. Trani, 191 F.3d 499 (4th Cir.1999)
  FM Indus. v. Citicorp Credit Servs., 614 F.3d 335 (7th Cir. 2010) (citing Claiborne v. Wisdom,
  414 F.3d 715 (7th Cir. 2005)
  In re Ruben, 825 F.2d 977 (6th Cir. 1987)
  Jensen v. Phillips Screw Co., 546 F.3d 59 (1st Cir. 2008).
  Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 45(2011) (citing Bell Atlantic Corp. v.
  Twombly, 550 U.S. 544, 570(2007).


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Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4491 Filed 02/05/21 Page 3 of 49




  Matter of Yagman, 796 F.2d 1165 (9th Cir. 1986)
  MEMC Elec. Mat'ls, Inc. v. Mitsubishi Mat'ls Silicone Corp., 420 F.3d 1369 (Fed.Cir.2005)
  Red Carpet Studios Div. of Source Advantage, Ltd. v. Sater, 465 F.3d 642 (6th Cir. 2006)
  Ridder v. City of Springfield, 109 F.3d 298 (6th Cir. 1997)
  Steinert v. Winn Group, Inc., 440 F.3d 1214 (10th Cir.2006)
  Thurmond v. Wayne Cnty. Sheriff Dept., 564 F. App’x 823 (6th Cir. 2014)
  United States v. Ross, 535 F.2d 346
  Young v. Smith, 269 F. Supp. 3d 251 (3d Cir. 2017)
  Statutes & Court Rules
  28 U.S.C. § 1927
  Fed. R. Civ. P. 54(d)(2)
  MCLS § 168.726


                                         Introduction
         Defendants do not allege specific deficiencies in pleadings; instead they attack

  the credibility of evidence attached to the complaint, whether by Declaration or

  Affidavit – despite the Plaintiffs submitting evidence for nearly every paragraph in the

  Amended Complaint, with over 200 affidavits and declarations, and never having an

  evidentiary hearing.

         Election integrity should be a non-partisan issue. In late December of 2019,

  three Democrat Senators, Warren, Klobuchar, Wyden and House Member Mark Pocan

  wrote about their ‘particularized concerns that secretive & “trouble -plagued companies”’


                                                2
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4492 Filed 02/05/21 Page 4 of 49




  “have long skimped on security in favor of convenience,” in the context of how they described

  the voting machine systems that three large vendors – Election Systems & Software,

  Dominion Voting Systems, & Hart InterCivic – collectively provide voting machines &

  software that facilitate voting for over 90% of all eligible voters in the U.S.” (See Am.

  Compl. at p. 59, par. G, citing Ex. 16).

         Defendants’ Motion reeks of political smear tactic and promotes a one-sided

  political viewpoint, rather than seeking to uphold any professional standards governing

  lawyers. Actually, it is the conduct of Defendants and their counsel that violates the

  code of legal ethics. The City’s request for sanctions must be denied, for multiple

  reasons explained in the Brief in Support below, filed pursuant to Local Rule

  7.1(d)(1)(A). The State Defendants’ passing request for “sanctions and/or costs and

  fees” is procedurally improper, as it was not made by motion with a supporting as

  required under Local Rule 7.1(b) and 7.1(d)(1)(A), and likewise must be denied.

                              Procedural background

         On January 5, 2021, the City moved for sanctions under Rule 11, as well as for

  the extraordinary remedy of the disbarment of SEVEN attorneys, and their referral to

  state bars for disciplinary action. The City had previously moved for sanctions under

  28 U.S.C. § 1927 (“Section 1927”),. (See ECF 70 and 73). On January 14, 2021, the

  State Defendants filed a Consent to the City’s motion stating that they reserve the right

  to file their own motion for sanction at a future date. The “Consent” is not a

  recognizable motion and adds nothing to the motion presented by the City.
                                               3
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4493 Filed 02/05/21 Page 5 of 49




         On November 25, 2020, Plaintiffs filed their Complaint. [ECF 1]. Plaintiffs

  amended their complaint on November 29th and also filed a motion for a TRO [ECF

  6, 7]. Since its initial filings, Plaintiffs have taken every reasonable measure to expedite

  this proceeding and to terminate the proceeding once their claims were no longer viable.

  In their November 29, 2020 “Emergency Motion for Declaratory, Emergency, and

  Permanent Injunctive Relief” (“TRO Motion”), ECF No. 7, Plaintiffs requested an

  expedited briefing schedule, which the Court granted. ECF No. 24. On December 7,

  2020, without oral argument, and based solely on the initial pleadings and responses,

  the Court denied the TRO Motion (See ECF No. 62). Plaintiffs promptly appealed to

  the Sixth Circuit and to the US Supreme Court. [ECF Nos. 64 and 68].

         On December 22, 2020, with these appeals pending, the State Defendants and

  Intervenors moved to dismiss the Amended Complaint. [ECF Nos. 70, 72, 73] On

  January 6, 2021, the US Congress “certified the election”, rendering Plaintiffs’ claims

  moot. On January 14, 2020 Plaintiffs voluntary dismissed the Amended Complaint for

  all Defendants and Defendant/Intervenors other than Mr. Davis. On January 17, 2021

  regarding Intervenor Defendant Davis, Plaintiffs moved for voluntary dismissal ECF

  No. 86-92.


                                  LEGAL ARGUMENT


  I.   The Requests for Rule 11 Sanctions Fail for Procedural Reasons.



                                               4
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4494 Filed 02/05/21 Page 6 of 49




         The City’s Motion for both Rule 11 sanctions and for disbarment of attorneys

  and their referral to state bar associations for disciplinary action is procedurally

  improper because it violates the requirement that a Rule 11 sanctions motion “must be

  made separately from any other motion,” Fed. R. Civ. P. Rule 11(c)(2) (emphasis

  added). The City has not cited any provision of the Federal Rules of Civil Procedure

  or Local Rules authorizing such a bundling or multiple types of sanctionable relief. The

  City intervened in this suit solely for the purpose of seeking sanctions—an action itself

  improper. It filed its specious motion in its own improper effort to promote its own

  agenda with the media and to distract from explosive evidence of voter fraud. Its

  motion is far more of a crafted smear to injure the standing and reputation of the

  Plaintiffs’ attorneys than one to uphold any professional standards. Indeed, the City

  violated the very standards it purported to uphold by filing its spurious motion. There

  is no legal or factual basis for this Court to grant the City’s requested relief. Accordingly,

  because the City has submitted one motion for Rule 11 sanctions and other types of

  punitive non-Rule 11 relief, the entire motion must be denied. See, e.g., Dolinka Vannoord

  & Co. v. Oppenheimer & Co., 891 F. Supp. 1244, 1252 (W.D. Mich. 1995) (sanctions

  denied for failure to comply with separate Rule 11 motion requirement; “In any event,

  due to the uncertainty of Michigan law on the key issues in this case … sanctions would

  [have] be[en] inappropriate.”); Peloza v. Capistrano United Sch. Dist., 37 F.3d 517, 524

  (9th Cir. 1994) (reversing sanctions award of $32,000 and finding First Amendment

  claims non-frivolous because plaintiff raised important questions of first
                                                5
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4495 Filed 02/05/21 Page 7 of 49




  impression), cert. denied, 515 U.S. 1173 (1995); Milwaukee Concrete Studios, Ltd. v. Field Mfg.

  Co., 8 F.3d 441 (7th Cir. 1993) (vacating sanctions because case involved issues of first

  impression); United States v. Alexander, 981 F.2d 250, 253 (5th Cir. 1993) (vacating

  imposition of sanctions; case presented novel issues and party's argument was

  plausible); Clancy v. Mobil Oil Corp., 906 F. Supp. 42, 50 (D. Mass. 1995) (“In light of the

  lack of clearly defined First Circuit precedent in this area, plaintiffs' argument … is not

  entirely unfounded. … Plaintiffs' arguments therefore fall outside the reach of Rule

  11.”); Fowler v. Towse, 900 F. Supp. 454, 461 (S.D. Fla. 1995) (sanctions denied for non-

  frivolous argument on novel issue).

         Secondly, the City’s motion must be denied as to all attorneys who did not

  actually appear or sign any pleadings in this matter. Rule 11 is concerned with the

  signing of frivolous pleadings and other papers. Oliveri v. Thompson, 803 F.2d 1265, 1274

  (2nd Cir. 1986). It may not be invoked against attorneys whose names appear on a

  pleading but who have not signed the pleading or otherwise formally appeared in the

  action. In re Ruben, 825 F.2d 977, 984, (6th Cir. 1987).

         Indeed, “[w]here plaintiff signed filed papers, but the attorney’s name appeared

  on papers only in typewritten form, sanctions cannot be imposed on attorney since Rule

  11 focuses only on individual who signed document in question. White v. American

  Airlines, Inc., 915 F.2d 1414, 17 Fed. R. Serv. 3d (Callaghan) 1199, 6 I.E.R. Cas. (BNA)

  1086, 116 Lab. Cas. (CCH) ¶56400, 1990 U.S. App. LEXIS 17201 (10th Cir.

  1990). Typewritten name is not signature for purpose of Rule 11, and therefore senior
                                                6
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4496 Filed 02/05/21 Page 8 of 49




  partner of law firm which represented defendants and whose name was typed on

  pleadings but who did not personally sign them is not subject to Rule 11 sanctions.

  Giebelhaus v. Spindrift Yachts, 938 F.2d 962, 91 Cal. Daily Op. Service 5352, 91 D.A.R.

  8248, 19 Fed. R. Serv. 3d (Callaghan) 1364, 1991 U.S. App. LEXIS 14212 (9th Cir.

  1991).”

  Id. See also Commentary, USCS Fed Rules Civ Proc R 11.

        The Sixth Circuit in In re Ruben cited to Oliveri v. Thompson, 803 F.2d 1265, 1274

  (2nd Cir. 1986) which held that:

        Rule 11, requires that "every pleading, motion, and other paper of a party
        represented by an attorney shall be signed" by the attorney. It then
        provides that:

        the signature of an attorney or party constitutes a certificate by him that
        he has read the pleading, motion, or other paper; that to the best of his
        knowledge, information, and belief formed after reasonable inquiry it is
        well grounded in fact and is warranted by existing law or a good faith
        argument for the extension, modification, or reversal of existing law, and
        that it is not interposed for any improper purpose, such as to harass or to
        cause unnecessary delay or needless increase in the cost of litigation.

        Fed. R. Civ. P. 11.

        …From this language it is apparent that a sanction for attorneys' fees may
        be imposed either on the attorney who signs a paper, or on the party he
        represents, or on both. The key to rule 11 lies in the certification flowing
        from the signature to a pleading, motion, or other paper in a lawsuit. While
        a continuing prohibition against dilatory litigation is imposed by § 1927,
        see Roadway Express, 447 U.S. at 757; Browning Debenture Holders' Committee,
        560 F.2d at 1088, rule 11, by contrast, deals with the signing of particular
        papers in violation of the implicit certification invoked by the signature.

        Rule 11 applies only to the initial signing of a "pleading, motion, or other
        paper". Limiting the application of Rule 11 to testing the attorney's
                                             7
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4497 Filed 02/05/21 Page 9 of 49




          conduct at the time a paper is signed is virtually mandated by the plain
          language of the rule. Entitled "Signing of Pleadings, Motions, and Other
          Papers; Sanctions", the rule refers repeatedly to the signing of papers; its
          central feature is the certification established by the signature.

  Oliveri v. Thompson, 803 F.2d 1265, 1274 (2nd Cir. 1986)

          For this reason alone, the City’s motion against all counsel other than local

  counsel, must be denied. The only signator or appearance made in the short life of

  this case has been by Plaintiffs’ local counsel. No other counsel signed any pleadings.

  Indeed, the City recognizes that E. D. Mich. LR 83.20(a)(1) defines “practice in this

  court,” to include: “appear in, commence, conduct, prosecute, or defend the action or

  proceeding; appear in open court; sign a paper; participate in a pretrial conference;

  represent a client at a deposition; or otherwise practice in this court or before an

  officer of this court.” (See ECF 78, p. 37). None of that applies to any of Plaintiffs’

  non-local counsel. Attorney Gregory Rohl served, pro bono, as local counsel and

  filed the initial complaint in the instant case as it was provided to him by the Sidney

  Powell team making no additions, deletions, or corrections to the pleadings other than

  simply adding his name to the provided signature page. The local rules in the Eastern

  District of Michigan do not allow an out of state attorney to sign pleadings unless

  admitted to the Court. United States District Court—Eastern Michigan District, February 2,

  2021,

  https://www.mied.uscourts.gov/index.cfm?pageFunction=Information%20For%20




                                               8
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4498 Filed 02/05/21 Page 10 of 49




  AttorneysFAQList&FAQGroup=Information%20For%20Attorneys. (See Exhibit

  1).

  II. Rule 11(c)(2)’s Safe Harbor Notice Requirement and Plaintiff’s Voluntary
  Dismissal of Complaint within 21 Days.
  As a preliminary matter, Rule 11(c)(2) sets forth that:


         (2) Motion for Sanctions. A motion for sanctions must be made separately
         from any other motion and must describe the specific conduct that
         allegedly violates Rule 11(b). The motion must be served under Rule 5,
         but it must not be filed or be presented to the court if the challenged
         paper, claim, defense, contention, or denial is withdrawn or appropriately
         corrected within 21 days after service or within another time the court
         sets. If warranted, the court may award to the prevailing party the
         reasonable expenses, including attorney’s fees, incurred for the motion.
   USCS Fed Rules Civ Proc R 11.
         The City’ Rule 11 motion claims regarding frivolous legal claims and

  unsupported factual allegations must be dismissed for failure to provide 21-days’ notice

  and opportunity for response under Rule 11(c)(2). Plaintiffs moved to voluntarily

  dismiss this case (and thereby withdraw all pleadings) on January 14, 2021. The City

  served a copy of notice of an anticipated Motion on Plaintiffs’ counsel on December

  15, 2020. That “notice” makes only conclusory statements and blanket assertions

  regarding the alleged violations of Rule 11 and fails altogether to “describe the specific

  conduct that allegedly violates Rule 11(b).” Id. Further, it fails to identify any specific

  factual allegation or witness that lacks evidentiary support. Instead, it is only in the

  accompanying Brief, filed on January 5, 2021, that the City first identifies the “specific

  conduct” that allegedly violates Rule 11. For r example, the Motion contains only a
                                               9
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4499 Filed 02/05/21 Page 11 of 49




  single sentence identifying specific contested factual allegations, ECF No. 78 at vii,

  while the Brief spends 13 pages.

         In Hadges & Kunstler v. Yonkers Racing Corp., 48 F.3d 1320, 1327-28 (2d Cir. 1995)

  the Second Circuit commented on the amendment, as follows:

         Of particular relevance here, the 1993 amendment establishes a "safe
         harbor" of 21 days during which factual or legal contentions may be
         withdrawn or appropriately corrected in order to avoid sanction. Fed. R.
         Civ. P. 11(c)(1)(A).
         Photocircuits Corp. v. Marathon Agents, 162 F.R.D. 449, 451, (E.D. N.Y. 1995)

         In addition, as the court in Cromwell v. Cummings, supra, 65 Cal. App. 4th Supp. 10,

  recognized, "[a]pplication of the doctrine of substantial compliance would be

  inconsistent with the plain language of the 'safe harbor' provision, which has been

  strictly construed as an absolute perquisite to an award of sanctions under revised rule

  11 of the Federal Rules of Civil Procedure (28 U.S.C). Barnes v. Department of Corrections,

  74 Cal. App. 4th 126, 135-136, 87 Cal. Rptr. 2d 594, 602, (Ca. App. 1999)(Citing Ridder

  v. City of Springfield, supra, 109 F.3d at p. 296.)" (Id. at p. Supp. 15.) Indeed, the Advisory

  Committee Notes to rule 11 state: "To stress the seriousness of a motion for sanctions

  and to define precisely the conduct claimed to violate the rule, the revision provides

  that the 'safe harbor' period begins to run only upon service of the motion. In

  most cases however, counsel should be expected to give informal notice to the other party,

  whether in person or by a telephone call or letter, of a potential violation before




                                                10
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4500 Filed 02/05/21 Page 12 of 49




  proceeding to prepare and serve a Rule 11 motion." (Fed. Rules Civ. Proc., Rule 11, 28

  U.S.C.A., supra, Advisory Com. Notes, 1993 amendments, p. 284, italics added.)

              This Court must, at a minimum, deny the Motion with respect to any argument,

  claim or contention first described in the City’s Brief, as protected under the Rule

  11(c)(2) safe harbor, and should deny the Motion as a whole based on the City’s filing

  of the Motion on January 5th, 2020, because Defendants’ filed dismissals to this Court

  for all parties on January 14, 2020, and regarding Intervenor Defendant Davis on

  January 17th, 2020.

              As explained above, Plaintiffs promptly moved to voluntarily dismiss this case in

  its entirety, including pending appeals, within the 21-day notice period of the filing of

  the motion on January 5, 2020, (See ECF 78) and (ECF 86-92).

  III.        Rule 11(b)(1): The Complaint Was Properly Filed with Proper Purpose
         A.     Plaintiffs Did Not Seek to Harass the City


              Even if the City’s Motion were not procedurally barred, Plaintiffs and their

  counsel have not violated Rule 11. Rule 11 provides that "sanctions may be imposed if

  a reasonable inquiry discloses [that a] pleading, motion, or paper is (1) not well grounded

  in fact, (2) not warranted by existing law or a good faith argument for the extension,

  modification or reversal of existing law, or (3) interposed for any improper purpose

  such as harassment or delay." Sony/ATV Music Publ'g LLC v. 1729172 Ont., Inc., 2018

  U.S. Dist. LEXIS 140856, *36-37, 2018 WL 4007537, (citing Merritt v. Int'l Ass'n of


                                                  11
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4501 Filed 02/05/21 Page 13 of 49




  Machinists & Aerospace Workers, 613 F.3d 609, 626 (6th Cir. 2010) (citation omitted)....

  ‘In order for conduct to be considered so "unreasonable" as to warrant sanctions, that

  conduct must be "relatively egregious."’ Id. (citing Fulmer v. MPW Indus. Servs., Inc., 2006

  U.S. Dist. LEXIS 42038, 2006 WL 1722433 at *5 (M.D. Tenn. June 21, 2006) (Trauger,

  J.).

         "'A district court abuses its discretion if it bases its ruling on an erroneous view

  of the law or a clearly erroneous assessment of the evidence.'" Shirvell v. Gordon, 602

  Fed. Appx. 601, 604 (6th Cir. 2015) (citing Merritt v. Int'l Ass'n of Machinists and Aerospace

  Workers, 613 F.3d 609, 619 (6th Cir. 2010) (quoting Brown v. Raymond Corp., 432 F.3d

  640, 647 (6th Cir. 2005)).

         Plaintiffs did not file for “any improper purpose, such as to harass, cause

  unnecessary delay, or needlessly increase cost of litigation.” Fed. R. Civ. P. Rule

  11(b)(1). First, the City of Detroit was an intervenor in this proceeding, not a

  defendant; nor was the City of Detroit a necessary party. Plaintiffs did not seek any

  relief from the City of Detroit, or its officials or employees. The City voluntarily

  intervened purportedly to “protect its reputation” and its own perception of election

  integrity. See ECF No. 5 at 4. But the City was not accused of conducting elections

  improperly. It does not conduct elections for the President of the United States. States,

  through their counties, do. So while Detroit sits in Wayne County, and allegations were

  made concerning fraudulent election activity in that county, the City of Detroit has no

  role in the matter, and it should not have intervened.
                                               12
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4502 Filed 02/05/21 Page 14 of 49




        Apart from its serial motions for sanctions, the City of Detroit has not made any

  unique legal arguments, but simply parroted the same arguments made by Defendants

  and other intervenors. Accordingly, Plaintiffs cannot be deemed to have filed for

  purposes of harassing the City, and in fact, opposed the City’s intervention. See ECF

  No. 5 at 1.


        B. Public Statements and Tweets By Co-Counsel Do Not Demonstrate
  That Plaintiffs or Counsel Had Improper Purpose but State Defendants’
  Statements Call into Question the Propriety of Defendants’ Purpose.
        The City’s speculative attribution of an improper motive attributable to Plaintiffs’

  counsel because of the media appearances of Lin Wood and Sidney Powell do not

  implicate Rule 11(b)(1), as neither Mr. Wood nor Ms. Powell was a signer to the

  pleadings. The tweets referenced in the City of Detroit’s outlandish character

  assassination of plaintiffs’ counsel have nothing to do with the merits of the suit, the

  claims set forth in this Court, or the evidence provided by plaintiffs’ counsel in support

  of their claims. Put frankly, they are entirely irrelevant to a Rule 11 consideration,

  particularly because no signer was the author or instigator of this media content. The

  actual signers of the pleading did not produce the tweets, reference the tweets, or

  retweet the tweets and have not been accused of making improper media appearances.

        The Fourth Circuit in In re Kunstler held that any improper purpose must be

  “derived from the motive of the signer in pursuing the suit.” 914 F.2d 505, 518–19 (4th

  Cir. 1990) (emphasis added). A Court may consider a signer’s subjective beliefs in the


                                              13
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4503 Filed 02/05/21 Page 15 of 49




  purpose analysis, solely if they so clearly demonstrate the signer knew the motion was

  baseless, and despite this knowledge, proceeded to file. Id at 519. Otherwise, the Court

  must judge the conduct of counsel under an objective standard of reasonableness. Id.

  at 518. Any evidence that cannot be viewed by a court without fear of misinterpretation,

  or that involves difficult determinations of credibility, is not objective for purposes of

  a Rule 11(b)(1) analysis. Id. at 519. Because neither Mr. Wood nor Ms. Powell were

  signers to the pleading, this Court may not assess their subjective beliefs in the improper

  purpose analysis; and there is not even a viable inference that local counsel had any

  improper purpose.

         Even if the Court were to improperly consider the tweets, an evidentiary hearing

  would be required to assess the veracity of the media statements and their role in

  impacting the signer’s decision to file the suit. As “determinations of credibility are best

  made after an evidentiary hearing,” and because these media statements are the opinions

  of attorneys who did not sign the pleading, this Court cannot assume improper purpose

  from extrajudicial statements that are not objective, nor were made by the signer. Id. at

  519-20. Plaintiffs’ counsel welcomes the opportunity to participate in an evidentiary

  hearing to consider the credibility of the evidence presented before this Court.

         The State Defendants address Sidney Powell’s tweets regarding election integrity

  issues and concerns about getting an opportunity to be heard in court in their Motion

  for Sanctions. (See ECF No. 78, pp. 6, 10). Defendants cite tweets alleging that “those

  false messages are deliberately advanced by these attorneys to support their goals of
                                               14
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4504 Filed 02/05/21 Page 16 of 49




  undermining our democracy” but by threatening plaintiffs and counsel over messages,

  Defendants undermine the Due Process Clause of the Constitution, “No person

  shall...be deprived of life, liberty, or property, without due process of law...”

  Defendants, however, have instead put out ,media headlines and talking points and

  messages under the official color of law to attempt punish Ms. Powell or other counsel over

  messages on election integrity or the lack thereof - while they had not yet filed or put

  Plaintiffs on notice of a Rule 11(c)(2) Motion for Sanctions, and appear to be working

  with one political party rather than from a position of neutrality incumbent on official

  government actors.

         On December 22, 2020, the Michigan Attorney General is quoted in public

  statements on making assertions that, under color of law, she will seek to get counsel

  disbarred, where she is using her public office and appears that it is coordinated with

  DNC Counsel’s statements from December 15, 2020.

         On December 15, 2002, the City emailed a notice of its intent to file sanctions

  motions, purportedly to provide “notice to correct” under Rule 11 - but that December

  15th notice appears instead to be coordinated with public statements put out that same

  day by both the Michigan Attorney General and counsel for the DNC. Specifically,

  they commented on the need to ensure Plaintiffs’ and Plaintiffs’ counsel “pay a price”

  for filing election integrity cases. “It’s time for this nonsense to end,” the City’s lawyer

  David Fink told Law & Crime in a phone interview. “The lawyers filing these frivolous

  cases that undermine democracy must pay a price,” Fink added.
                                              15
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4505 Filed 02/05/21 Page 17 of 49




          Indeed, even before the City’s motion had been filed, it was tweeted out by Marc

  Elias, an attorney from the Washington-based firm Perkins Coie who has regularly

  intervened in these cases on behalf of the Democratic Party and the Biden campaign.1

          But that’s not all. Not to be undone by counsel for the City and the DNC, the

  Michigan Attorney General made the following slanderous and outrageous official

  statement concerning the filings in this case in which her office appears as counsel of

  record for the State Defendants:

          “These are flagrant lies that Ms. Powell is submitting to, of all places, the
          United States Supreme Court in some cases. It’s disturbing and it
          undermines our entire profession, and she has to be held accountable,”
          Nessel told Detroit reporters. “We’d be asking there be action taken
          against her law license including potential disbarment.” 2




  1
    Detroit Is Trying to Get Sidney Powell Fined, Banned from Court, and Referred to the Bar for Filing the ‘Kraken’,
  lawandcrime.com, by Adam Klasfeld, December 15, 2020https://lawandcrime.com/2020-election/detroit-is-trying-
  to-get-sidney-powell-fined-banned-from-court-and-referred-to-the-bar-for-filing-the-kraken/)

  2
   Michigan Attorney General Wants to Disbar Sidney Powell, Pro-Trump Attorneys: Michigan is
  moving to disbar Sidney Powell and other pro-Trump attorneys for the work exposing credible
  accusations of voter fraud. The National File, By Frankie Stockes by Frankie Stockes December 26,
  2020.

  https://nationalfile.com/michigan-attorney-general-wants-to-disbar-sidney-powell-pro-
  trump-attorneys/; see also “The Democratic attorney general also plans to pursue court costs
  and fees and to file complaints with the attorney grievance commission, Nessel told reporters
  Tuesday.” Sanctions sought against lawyers who pushed to overturn Michigan's election, the
  Detroit News, by Beth LeBlanc and Craign Mauger, December 22, 2020

  https://www.detroitnews.com/story/news/local/michigan/2020/12/22/nessel-seek-
  sanctions-against-lawyers-challenging-election-results/4009929001/

                                                          16
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4506 Filed 02/05/21 Page 18 of 49




         It appears that their primary motivation in seeking to intervene in this case was

  to file serial sanctions motions and to defend its reputation, a purpose that has been

  held to be an impermissible and not to provide standing for filing Rule 11

  sanctions. See, e.g., New York News, Inc. v. Kheel, 972 F.3d 482, 488 (2d Cir. 1992) (finding

  aggrieved non-party lacked standing to file Rule 11 motion for purportedly baseless

  allegations in plaintiffs’ complaint).Accordingly, there is no basis for this Court to apply

  Rule 11 sanctions to non-counsel of record for public statements made. On the

  contrary, it is defense counsel whose motives for bringing the instant motion and whose

  contrary, it is the public statements made by counsel for the City of Detroit and the

  State of Michigan, under color or law, which should be closely scrutinized.


        C. Plaintiffs Have Not Caused Unnecessary Delay or to Unnecessarily
  Increased Costs
         Plaintiffs have taken every reasonable measure to expedite this proceeding and

  to terminate the proceeding once their claims were no longer viable while seeking relief

  for their clients. In their November 29, 2020 “Emergency Motion for Declaratory,

  Emergency, and Permanent Injunctive Relief” (“TRO Motion”), ECF No. 7, Plaintiffs

  requested an expedited briefing schedule, and agreed to forego an evidentiary hearing

  and discovery specifically because of the time pressure on the relevance of the claims


  The Motor City’s motion asks a federal judge to fine the lawyers, ban them from practicing in the
  Eastern District in Michigan and refer them to the Wolverine State’s bar for grievance proceedings.)




                                                  17
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4507 Filed 02/05/21 Page 19 of 49




  related to election fraud which by their very nature are challenging to bring because of

  the short time available to file suit. This Court granted the request for expedited

  briefing, ECF No. 24, and based solely on the initial pleadings and responses, dismissed

  the TRO Motion a mere eight days later on December 7, 2020. (See ECF No. 62).

  Further, thereafter Plaintiffs expeditiously moved for voluntary dismissal of the

  November 29, 2020 Amended Complaint, ECF No. 6, because the relief requested in

  the Amended Complaint appears to now have become moot.

        Plaintiffs moved as expeditiously as possible, while acting in the best interests of

  their clients, from the outset through the termination of this proceeding, it is the City

  that seeks to prolong this proceeding with meritless claims for sanctions, supported

  solely by incendiary accusations and ad hominem attacks on Plaintiffs’ counsel and

  willful misrepresentations of Plaintiffs’ claims and motives.


  V. Rule 11(b)(2), (b)(3): Plaintiffs Legal Claims Had Evidentiary Support and
  Were Not Frivolous
        The commentary applicable to determining Rule 3.1. Meritorious Claims and

  Contentions explains:


        The filing of an action or defense or similar action taken for a client is not
        frivolous merely because the facts have not first been fully substantiated
        or because the lawyer expects to develop vital evidence only by discovery.
        What is required of lawyers is that they inform themselves about the facts
        of their clients’ cases and the applicable law and determine that they can
        make good-faith arguments in support of their clients’ positions.



                                             18
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4508 Filed 02/05/21 Page 20 of 49




  MRPC 3.1. ‘As amended, the rule "stresses the need for some pre-filing inquiry into

  both the facts and the law to satisfy the affirmative duty imposed." Merritt v. Int'l Ass'n

  of Machinists & Aero. Workers, 613 F.3d 609, 626 (6th Cir. 2010), (citing Id. (citing Fed. R.

  Civ. P. 11 advisory committee's note to the 1983 amendment); see also Century Prods., Inc.

  v. Sutter, 837 F.2d 247, 250 (6th Cir. 1988)).

         Rule 11 is “not intended to chill an attorney’s enthusiasm or creativity in pursuing

  factual or legal theories,” and “[t]he court is expected to avoid using the wisdom of

  hindsight and should test the signer’s conduct” based on what was “reasonable to

  believe” at the time of filing. INVST Financial Group, Inc. v. Chem-Nuclear Systems, Inc.,

  815 F.2d 391, 401 (6th Cir. 1987), cert. denied, 484 U.S. 927 (1987). (quoting Fed. R.

  Civ.   P.   Rule    11.   Notes    of      Advisory   Committee     on    Rules    --   1983

  Amendment). Plaintiffs’ central claim -- whether Presidential Electors had standing to

  bring federal constitutional claims under the Electors Clause and other constitutional

  provisions -- a was a novel claim for which there was no controlling authority in the

  Sixth Circuit, but for which there was support in other circuits.

         As the Supreme Court has observed in a similar statute providing for recovery

  of attorney’s fees for frivolous claims:


         [I]t is important that a district court resist the understandable temptation
         to engage in post hoc reasoning by concluding that, because a plaintiff did
         not ultimately prevail, his action must have been unreasonable or without
         foundation. This kind of hindsight logic would discourage all but the most
         airtight claims, for seldom can a prospective plaintiff be sure of ultimate
         success.

                                                19
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4509 Filed 02/05/21 Page 21 of 49




  Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 421-22 (1978). The Supreme Court

  affirmed the denial of attorney’s fees where, as here, the defendant prevailed on “an

  issue of first impression requiring judicial resolution.” Id. (internal quotations

  omitted). “If the area of law is considered complex and uncertain, however, Rule 11

  sanctions are rarely granted …” Balfour Guthrie, Inc. v. Hunter Marine Transport, Inc., 118

  F.R.D. 66, 74 (M.D. Tenn. 1987) (citing Vatican Shrimp Co. v. Solis, 820 F.2d 674, 681

  (5th Cir. 1987)).


         A. Plaintiffs Had Reasonable Basis for Legal Claims
         1.   Standing
         Plaintiffs’ central claim was that the Michigan Presidential Elector Plaintiffs had

  standing to file claims for violation of the Electors Clause, as well as standing to bring

  Equal Protection and Due Process claims and under the Fourteenth Amendment as

  candidates for office and as voters. While the court found that Plaintiffs’ claims lacked

  standing, the fact is Plaintiffs made a good faith legal argument under Article III, § 2,

  of the U.S. Constitution which provides that,


         “The judicial Power shall extend to all Cases, in Law and Equity, arising
         under this Constitution, the Laws of the United States, and Treaties made,
         or which shall be made, under their Authority[.]”
        “It is clear that the cause of action is one which ‘arises under’ the Federal

  Constitution.” Baker v. Carr, 369 U.S. 186, 199 (1962) (A citizen's right to a vote free

  of arbitrary impairment by state action has been judicially recognized as a right secured


                                              20
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4510 Filed 02/05/21 Page 22 of 49




  by the Constitution, when such impairment resulted from dilution by a false tally; or by

  a refusal to count votes from arbitrarily selected precincts, or by a stuffing of the ballot

  box.).

           These claims were not frivolous as they had support in other circuits, and there

  was not at the time of filing, any controlling authority in the Sixth Circuit. Instead,

  there was a circuit split on the elector standing. Plaintiffs relied on a very recent case

  where the Eighth Circuit interpreted the presidential elector provisions of Minnesota

  law that were nearly identical to Michigan’s electoral law as giving electors standing, as

  candidates for office, under the Electors Clause to challenge state law violations. Carson

  v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020) (affirming that Presidential Electors have

  Article III and prudential standing to challenge actions of Secretary of State in

  implementing or modifying State election laws). In that case, the Eighth Circuit

  Presidential Electors “have a cognizable interest in ensuring that the final vote tally

  reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and

  particularized injury to candidates such as the Electors.” The Third Circuit, in a case

  dealing with a failed congressional candidate, not a Presidential elector, reached a

  different conclusion in Bognet v. Secy Commonwealth of Pa., 980 F.3d 336 (3d Cir. 2020).

           The existence of a circuit split on candidate standing demonstrates that Plaintiffs

  and counsel had a reasonable basis for their claims and that their position was not

  frivolous. In fact, the existence of a circuit split can defeat a motion for sanctions even

  if the position taken runs counter to current controlling authority. See, e.g., Hunter v.
                                                21
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4511 Filed 02/05/21 Page 23 of 49




  Earthgrains Co. Bakery, 281 F.3d 144, 154-56 (4th Cir. 2002) (vacating district court order

  imposing Rule 11 sanctions where other circuits had taken legal position contrary to

  controlling Fourth Circuit precedent). Here, by contrast, there was no controlling Sixth

  Circuit or Supreme Court authority on elector standing.

             2. The Eleventh Amendment.

         The Supreme Court has held that “[i]t is clear … that in the absence of consent

  a suit in which the State or one of its agencies or departments is named as the defendant

  is proscribed by the Eleventh Amendment.” Pennhurst State Sch. & Hosp. v. Halderman,

  465 U.S. 89, 100, 104 S. Ct. 900, 908, 79 L. Ed. 2d 67 (1984). However, “[w]hen the suit

  is brought only against state officials, a question arises as to whether that suit is a suit

  against the State itself.” Id. at 101.

         This Court determined that Plaintiffs’ claims against Governor Whitmer and

  Secretary of State Benson were “suit[s] against state officials when ‘the state is the real,

  substantial party in interest.’” Dkt. 62, pp. 8-9. Plaintiffs respectfully disagree with that

  conclusion. Their Complaint alleges ultra vires executive conduct in violation of state

  law. Plaintiffs’ cause of action is premised on the fact that Defendants Whitmer and

  Benson have acted inconsistently with state and federal law. Accordingly, in Plaintiffs’

  view, the state is not the real party in interest. If it were, then no citizen could ever

  maintain a cause action against a state defendant. Ultimately, the point is that the

  resolution of this issue is fact-intensive, not “clear.”

             3. Laches.
                                               22
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4512 Filed 02/05/21 Page 24 of 49




         Laches is an equitable doctrine that is necessarily fact-dependent. After a diligent

  search, Plaintiffs have been unable to locate any analogous case in which a court

  imposed sanctions on a plaintiff for bringing a claim that the court subsequently

  deemed barred by laches.

         In the instant case, most of Defendants’ conduct did not become apparent until

  Election Day. Thereafter, Plaintiffs diligently collected dozens of affidavits and drafted

  a seventy-five page initial complaint detailing each of its claims. Plaintiffs filed their

  Complaint a mere two days after the Michigan Board of State Canvassers certified the

  election results. Plaintiffs had a reasonable argument for the roughly twenty-one day

  delay between Election Day and the filing of this Complaint. As such, sanctions would

  be grossly inappropriate on this basis.

            4. Mootness.

         Plaintiffs and this Court disagreed on the question of whether or not the relief

  Plaintiffs sought was moot. The Court essentially concluded that it did not have the

  power to “decertify” election results once those results had been certified by the

  Governor. In delivering its reasons, the Court did not cite any controlling case law in

  support because this is a novel area. (See ECF No. 62, Court Op. and Order) However,

  in their complaint to the US Supreme Court on December 7, 2020, the state of Texas,

  joined by 18 other state attorney generals, believed a federal court did have the authority

  to decertify or otherwise invalidate certified state elections results. (See Plaintiffs’ Brief



                                                23
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4513 Filed 02/05/21 Page 25 of 49




  in Opposition to 1927 Sanctions] Accordingly, Plaintiffs’ reasonable arguments in

  support of their entitlement to relief cannot be sanctionable on this basis.

     B.   Dismissal on Equitable Grounds Should Not Be Basis for Sanctions

          Equitable remedies allow that “substantial justice may be attained in particular

  cases where the prescribed or customary forms of ordinary law seem to be inadequate.”

  27A Am. Jur. 2d Equity § 1 (citing Securities and Exchange Com'n v. U.S. Realty & Imp. Co.,

  310 U.S. 434, 60 S. Ct. 1044, 84 L. Ed. 1293 (1940)). By its very nature, equitable claims

  are heavily fact and circumstance dependent and a particularly bad fit for sanctions

  when relief is denied. Litigants must know that they can come to court seeking out of

  the box equitable remedies in unusual disputes, without fear of sanctions. While

  equitable defenses, such as latches or mootness, may foreclose relief given a particular

  fact pattern it is particularly unlikely that the relief requested is factually or legally

  baseless because of the purposefully flexible nature of equity.


    C. Dismissal for Failure to Adequately Plead Claims Is Not Basis for
  Sanctions.
          While the Court’s rationale for dismissing Plaintiffs’ Equal Protection and Due

  Process claims appears to be that the Court accepted the claims of the City and other

  parties that Plaintiffs’ either failed to adequately plead these claims or to allege facts

  that, if true, would have stated a claim for relief. See ECF No. 62 at 33-34. “Although

  a legal claim might be so inartfully pled that it cannot survive a motion to dismiss, such

  a flaw will not in itself support Rule 11 sanction--only the lack any legal or factual basis

                                              24
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4514 Filed 02/05/21 Page 26 of 49




  is sanctionable.” Hunter, 281 F.3d at 153 (emphasis added). See also id. (“Creative claims,

  coupled even with ambiguous or inconsequential facts, may merit dismissal, but not

  punishment”) (internal quotations omitted). A district court, however, should not

  impose sanctions so as to chill creativity or stifle enthusiasm or advocacy. See Securities

  Indus. Ass'n v. Clarke, 898 F.2d 318, 322 (2d Cir. 1990).

         Moreover, plaintiffs and counsel “need not have in hand before filing enough

  proof to establish the case.” Samuels v. Wilder, 906 F.2d 272, 274 (2d Cir. 1990). It

  “requires only an outline of case,” and “must not bar the courthouse door to people

  who have some support for a complaint but need discovery to prove their case …” Id.

  (internal citations and quotations omitted). Here, there is a disagreement about the

  significance of the facts and testimony supporting Plaintiffs’ complaint, particularly with

  respect to the allegations of differential weighting of Republican and Democratic votes

  by Dominion voting machines, discriminatory enforcement (or nonenforcement) of

  state election laws, and other illegal and discriminatory conduct at the TCF Center

  described in sworn eyewitness testimony. Plaintiffs alleged that this illegal and

  unconstitutional conduct did not affect all voters equally, and that it resulted in counting

  of illegal votes predominantly for Democrats and not counting legal votes for

  Republican voters. This Court found that Plaintiffs’ allegations could not support these

  claims, and dismissed eyewitness statements in sworn testimony who believed that they

  observed vote switching or destruction as unsupported, and similar allegations as

  “theories, conjecture, and speculation that such alterations were possible.” ECF No. 62 at
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Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4515 Filed 02/05/21 Page 27 of 49




  34. But these are precisely the types of credibility determinations that could have been

  made at an evidentiary hearing, and allegations that could have found additional

  evidentiary support if discovery had been permitted.

        The central goal of Rule 11 sanctions is the deterrence of baseless filings and the

  curbing of abuses. Photocircuits Corp. v. Marathon Agents, 162 F.R.D. 449, 451, (1995)

  (citing Cooter & Gell v. Hartmarx Corporation, 496 U.S. 384, 393, 110 S. Ct. 2447, 2454,

  110 L. Ed. 2d 359 (1990); Caisse Nationale De Credit Agricole-CNCA v. Valcorp, 28 F.3d

  259 (2d Cir. 1994); McMahon v. Shearson/American Express, Inc., 896 F.2d 17, 21 (2d Cir.

  1990) (Rule 11 was enacted to "discourage dilatory and abusive litigation tactics and

  eliminate frivolous claims and defenses, thereby speeding up and reducing the costs of

  the litigation process."). Rule 11 is designed to deter parties from abusing judicial

  resources, not from filing complaints. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384,

  411, 110 S. Ct. 2447, 2464, 110 L. Ed. 2d 359, 385, (J. Stevens, 1990).

  VI.  Rule 11(b)(3): Plaintiffs Factual Allegations Had Evidentiary Support
  and/or Would Have Support After Further Discovery or Investigation
        A.   Plaintiffs’ Factual Allegations Have Not Been “Debunked.”
        As an initial matter, the only contested factual allegations that may be before this

  Court (assuming the Motion is not dismissed as procedurally improper or on other

  grounds) are those in the Motion served on December 15, 2020, and filed with this

  Court on January 5, 2021. The only “specific conduct” identified in the Motion are

  “[t]he allegations about supposed fraud in the processing and tabulation of absentee


                                             26
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4516 Filed 02/05/21 Page 28 of 49




  ballots by the City at the TCF Center,” which according to the City, “have been rejected

  by every court that has considered them,” ECF No. 78 at 7, but does not cite to any

  case where this was “debunked.” Id. Nor could they because it appears that no court

  has addressed these factual allegations on the merits or held an evidentiary hearing.

        While factual allegations made for the first time in the January 5, 2021 Brief are

  not properly before this Court for failure to comply with Rule 11(c)(2)’s safe harbor

  and 21-day notice requirement, Plaintiffs will nevertheless demonstrate that the City of

  Detroit’s claims are without merit. The City of Detroit heavily relies on the Wayne

  County Circuit Court’s opinion and order in Constantino v. Detroit, Case No. 20-014780-

  AW (Nov. 13, 2020), ECF No. 78 at 13-18 (“Constantino I”), aff’d, 950 N.W.2d 707

  (Mich. Nov. 23, 2020) (“Constantino II”). There, the circuit court denied a motion for

  preliminary injunctive relief that included many of the same factual allegations regarding

  misconduct at the TCF Center, supported by sworn affidavits from many of the same

  fact witnesses, as were included in the Complaint, Amended Complaint, and TRO

  Motion. ECF Nos. 1, 6, 7.

        In doing so, the City neglects to mention that the Circuit Court, like this Court,

  did not conduct an evidentiary hearing. And Defendants fail to point out how it that

  case substantively differs from the case at bar which addressed a widespread pattern of

  actual fraud. The City also neglects to mention that three Michigan Supreme Court

  judges in Constantino issued concurring and dissenting opinions finding serious

  allegations of fraud that needed to be investigated. The Rule 11 Advisory Committee
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Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4517 Filed 02/05/21 Page 29 of 49




  Notes direct district courts to consider minority opinions in determining whether an

  attorney has conducted a reasonable inquiry as required. Fed. R. Civ. P. Rule 11, Notes

  of Advisory Committee – 1993 Amendment (directing district courts to take into

  account “the extent to which a litigant has researched the issues and found some

  support for its theories even in minority opinions”).

         Specifically, in his dissenting opinion, Justice Viviano highlighted the fact that

  the Circuit Court’s “credibility determinations were made without the benefit of an

  evidentiary hearing,” which “[o]rdinarily … is required where the conflicting affidavits

  create factual questions that are material to the trial court’s decisions on a motion for

  preliminary injunction” under Michigan state law. Constantino II, 950 N.W.2d at 710 n.2

  (Viviano, J. dissenting). In his view, “[t]he trial court’s factual finding have no

  significance …” Id., at 710-711 (emphasis added).

         Justice Zahra, in a concurring opinion joined by Justice Markman, also disagreed

  with the Circuit Court’s decision not to hold an evidentiary hearing. They also appear

  to have found the factual allegations of these witnesses to have some merit:

         Nothing said is to diminish the troubling and serious allegations of fraud
         and irregularities asserted by affiants …, among whom is Ruth Johnson,
         Michigan’s immediate past Secretary of State.”
  Id. at 708 (Zahra, J., concurring). Justice Zahra therefore urged the Circuit Court to

  “meaningfully assess plaintiffs’ allegations by an evidentiary hearing, particularly with

  respect to the credibility of the competing affiants ...” Id.


                                               28
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4518 Filed 02/05/21 Page 30 of 49




         A court may, and given the exigencies of time sometimes must, act on motions

  for preliminary injunctive relief based on “the parties’ bare affidavits,” Id. at 710

  (Viviano, J. dissenting), without an evidentiary hearing. However, such purported

  factual findings cannot be given preclusive effect much less form the basis for finding

  that factual allegations made in sworn affidavits lacked evidentiary support. Plaintiffs’

  Amended Complaint presented over 200 sworn fact witness (as well as sworn affidavits

  from more than a dozen expert witnesses (that were not addressed in Constantino I or

  Constantino II), that constitutes more than sufficient evidentiary support to meet the

  requirements of Rule 11, even before conducting any discovery which likely would have

  resulted in additional evidence supporting Plaintiffs’ allegations.

         While district courts are required to articulate a basis for awarding sanctions,

  nothing requires them to explain their reasons for not ordering sanctions." Gibson v.

  Solideal USA, Inc., 489 Fed. Appx. 24, 32, 2012 FED App. 0740N (6th Cir. 2012) (cited

  Runfola & Assocs., Inc. v. Spectrum Reporting II, Inc., 88 F.3d 368, 375 (6th Cir. 1996)

  (addressing a district court's silence on its reason to deny sanctions under its inherent

  powers); see also Eaton Aerospace, L.L.C. v. SL Montevideo Tech., 129 F. App'x 146, 153 (6th

  Cir. 2005).

         In the event this Court declines to deny the City’s Motion and consider imposing

  Rule 11 sanctions under Rule 11(b)(3) it must first conduct an evidentiary hearing to

  make credibility determinations for Plaintiffs’ witnesses. See, e.g., Donaldson v. Clark, 819

  F.3d 1551, 1561 (11th Cir. 1987) (“when a court is asked to resolve an issue of credibility
                                               29
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4519 Filed 02/05/21 Page 31 of 49




  ...the risk of an erroneous imposition of sanctions under limited procedures and the

  probably value of additional hearing are likely to be greater.”) A hearing is further

  required in light of the draconian, punitive, and unprecedented nature of the City of

  Detroit’s proposed sanctions: “[T]he more serious the possible sanction both in

  absolute size and in relation to actual expenditures, the more process that will be

  due.” Id. (emphasis added). Moreover, “[w]hen, as here, the case was dismissed

  without a trial, due process may require some kind of hearing.” Davis v. Crush, 862 F.2d

  84, 89 (6th Cir. 1988) (internal quotations omitted).


        B. Plaintiffs Provided Adequate Evidentiary Support for Factual
  Allegations and/or Would Have After Reasonable Opportunity for Further
  Investigation or Discovery
         The standard is more importantly, to survive a motion to dismiss, respondents

  need only allege “enough facts to state a claim to relief that is plausible on its face.”

  Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 45, 131 S. Ct. 1309, 1322, 179 L. Ed. 2d

  398, 413, (2011) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955,

  167 L. Ed. 2d 929 (2007). Nevertheless, the City begins its motion with language that

  claims Plaintiffs have “lied,” to this court.       Such outrageous and unprofessional

  allegations are entirely unacceptable. The City cannot back up its absurd allegation.

  Proffering expert reports that are disputed by plaintiffs’ experts does not make counsel

  liars. And, if this were simply the ranting of a third rate five-man Detroit law firm, we

  would dismiss this behavior as pathetic unprofessionalism. But these are the dirty,


                                                30
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4520 Filed 02/05/21 Page 32 of 49




  media-attention hungry, slanderous and completely out-of-bounds statements by

  representatives of the City of Detroit. It should not be countenanced by this Court.

         Rule 11 specifically says, “(d) Inapplicability to Discovery. This rule does not apply to

  disclosures and discovery requests, responses, objections, and motions under Rules 26 through

  37. USCS Fed Rules Civ Proc R 11(d). None of the allegations and evidence proffered

  by the plaintiffs were allowed to be developed through discovery. None of the defense

  witnesses or evidence were permitted to be tested through discovery. Awarding Rule

  11 sanctions on such a bare record is unprecedented and wrong.

         The Amended Complaint presented expert witness testimony demonstrating that

  several hundred thousand illegal, ineligible, duplicate or purely fictitious votes must be

  thrown out, in particular:

            A. A report from Russell Ramsland, Jr. showing the “physical impossibility”
            of nearly 385,000 votes injected by four precincts/township on November 4,
            2020, that resulted in the counting of nearly 290,000 more ballots processed
            than available capacity (which is based on statistical analysis that is
            independent of his analysis of Dominion’s flaws), a result which he
            determined to be “physically impossible” (see Ex. 104 ¶14);
            B. A report from Dr. Louis Bouchard finding to be “statistically impossible”
            the widely reported “jump” in Biden’s vote tally of 141,257 votes during a
            single time interval (11:31:48 on November 4), see Ex. 110 at 28);
            C.      A report from Dr. William Briggs, showing that there were
            approximately 60,000 absentee ballots listed as “unreturned” by voters that
            either never requested them, or that requested and returned their ballots. (See
            Ex. 101);
            D. A report from Dr. Eric Quinell analyzing the anomalous turnout figures
            in Wayne and Oakland Counties showing that Biden gained nearly 100% and
            frequently more than 100% of all “new” voters in certain

                                                31
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4521 Filed 02/05/21 Page 33 of 49




           townships/precincts over 2016, and thus indicated that nearly 87,000
           anomalous and likely fraudulent votes came from these precincts. (See Ex.
           102);
           E. A report from Dr. Stanley Young that looked at the entire State of
           Michigan and identified nine “outlier” counties that had both significantly
           increased turnout in 2020 vs. 2016 almost all of which went to Biden totaling
           over 190,000 suspect “excess” Biden votes (whereas turnout in Michigan’s 74
           other counties was flat). (See Ex. 110);
           F.     A report from Robert Wilgus analyzing the absentee ballot data that
           identified a number of significant anomalies, in particular, 224,525 absentee
           ballot applications that were both sent and returned on the same day, 288,783
           absentee ballots that were sent and returned on the same day, and 78,312 that
           had the same date for all (i.e., the absentee application was sent/returned on
           same day as the absentee ballot itself was sent/returned), as well as an
           additional 217,271 ballots for which there was no return date (i.e., consistent
           with eyewitness testimony described in Section II below). (See Ex. 110);
           G. A report from Thomas Davis showing that in 2020 for larger Michigan
           counties like Monroe and Oakland Counties, that not only was there a higher
           percentage of Democrat than Republican absentee voters in every single one
           of hundreds of precinct, but that the Democrat advantage (i.e., the difference
           in the percentage of Democrat vs. Republican absentee voter) was consistent
           (+25%-30%) and the differences were highly correlated, whereas in 2016 the
           differences were uncorrelated. (See Ex. 110); and
           H. A report by an affiant whose name must be redacted to protect his safety
           who concludes that “the results of the analysis and the pattern seen in the
           included graph strongly suggest a systemic, system-wide algorithm was
           enacted by an outside agent, causing the results of Michigan’s vote tallies to
           be inflated by somewhere between three and five point six percentage
           points. Statistical estimating yields that in Michigan, the best estimate of the
           number of impacted votes is 162,400. However, a 95% confidence interval
           calculation yields that as many as 276,080 votes may have been impacted.”
           (See Ex. 111 ¶13).
  (See ECF 6, Pls. Am. Compl. at par. 16). And Plaintiff’s December 4, 2020 response

  included signed and sworn Rebuttal sworn statements in response to Defendant-

  Intervenor’s response, from Plaintiffs’ expert witnesses, Russell Ramsland, William

                                            32
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4522 Filed 02/05/21 Page 34 of 49




  Briggs, Eric Quinell, and expert testimony submitted under seal. (See ECF No. 49,

  Exhs. 1-4).


  Young and Quinell


        The language invoked by Defendants is largely inappropriate in their attack on

  Dr. Young and Dr. Quinell. Defendants argue generally and broadly that these highly

  qualified individuals submitted reports that are “sloppy” and show “incomprehensible

  ignorance.” (See ECF No. 78, p. 19). While Defendants are not examining these

  witnesses before a trier of fact they appear instead to seek to prejudice the court with

  hyperbole, without a counter expert or even a citation to published expert

  literature. Dr. Quinell holds a Ph.D. in computer arithmetic and is an electrical engineer

  who works in silicon computation devices and herein opines on a mathematical

  anomaly. In a reply that was submitted to this court Dr Quinell explained:

        These mathematical anomalous vote gains, until explained and/or
        investigated are of a large enough quantitative magnitude and
        consequence that the barrier of speculation should be held to engineering
        and mathematical standards, not to those of political science and editorial
        publications.

        In statistics, any “new population” may be added and absorbed to the
        whole- this population seems to have 8,000 voters who didn’t appear in
        2016 that parachuted in and voted 80 Dem/ 20 Rep – which is in complete
        opposition to Troy’s moderate voting history. In a technique called
        “resampling”, any new population that is added to an existing one is
        expected to behave and slightly change the behavior of the existing mass,
        testable by re-simulating the same dataset with the existing distribution
        mathematical qualities. Resampling in this case puts this new population
        deep into the tail of its own distribution, indicating again a completely new

                                              33
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4523 Filed 02/05/21 Page 35 of 49




        phenomena that needs explaining. Why would a populous increase its
        own turnout by 15% over 2016, and 98% of that go to one
        candidate? Mathematically this behavior is anomalous to its own dataset.

        What “literature” exists to explain that absentee ballot requests are a single
        variable – with a perfect scalar multiple of Democrats above Republicans
        – with a Pearson coefficient of 0.797? Every precinct where a Republican
        voted by absentee guaranteed roughly 1.7 Democrats to vote absentee,
        regardless of precinct. This “national phenomenon” of mathematically
        non-independent variables is not ubiquitous in all the Michigan counties
        nor in national data…

  (See ECF 49-2, pp. 4-6).
        The City’s bald and toothless disagreement with the experts cited, would at best

  become a question for a trial or evidentiary hearing through the cross-examination of a

  witness. It is not a basis for a Rule 11 motion.

  Spyder/Spider

        Defendants attack the Declarant known as Spider because they attack his

  background - despite the fact that they have not deposed him or otherwise examined

  him. Spider’s identity and credentials were required to be withheld. In Plaintiffs’

  motion to file under seal [ECF No. 8] the reasons were explained. Nevertheless,

  defendants do not address the substance of Spider’s 17-page report filled with analysis

  and evidence. Instead they simply attack his credentials. This is not a basis upon which

  to grant a Rule 11 motion.


  Russell James Ramsland




                                             34
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4524 Filed 02/05/21 Page 36 of 49




          Defendants address Russell James Ramsland and allege that “the Secretary of

  State report is not even discussed.” And based on this assumption, and lack of genuine

  research, Defendants proceed to allege that he makes false claims. (See ECF No. 78, p.

  21). Yet, Mr. Ramsland already responded to the same points raised by defendants’

  expert, Dr. Rodden, and stands by his conclusions. (See Ramsland Reply Report, Docket

  No 49, Ex. 3 at par 6, filed 12/3/2020). He specifically addresses and thoroughly

  documents the lack of evidence for the Secretary of State’s conclusion and summarizes:


          We do not believe that the Secretary of State report addresses this and
          states the issue at the time was not on the printed totals tape. The Secretary
          even states “Because the Clerk correctly updated the media drives for the
          tabulators with changes to races, and because the other tabulators did not
          have changes to races, all tabulators counted ballots correctly.” This is not
          the case.
   (See Id. at p. 12).
   The report later summarizes:


          If this had been a user setup issue, then the test ballots they run to verify
          the results they get by comparing them with the test matrix should have
          caught that. When they made the software change that that used to
          tabulate the 11/6/20 rerun, there should be a log of the test ballots run
          through the system and verified against the test matrix. This alone might
          not show fraud, but it is a crucial part of the software configuration
          validation process and apparently was not done. We believe to a
          reasonable degree of professional certainty that this shows fraud and that
          vote changing at the local tabulator level has occurred due to a software
          change in all precincts were Dominion software was used in Michigan.
          This small sample amplified in a large population area would have major
          results. Without the explanation of why there was a re-tabulation, why the
          issue of numbers being off to a significant degree when a vote change was
          noted, and no further investigation occurred – and when 3 ballots were

                                                35
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4525 Filed 02/05/21 Page 37 of 49




          removed from the totals that changed the final outcome of one proposal,
          constitutes a definitive indication of fraud.
   (See Id. p. 13).

          Mr. Ramsland also addresses the “event” reflected in the data are “4 spikes

  totaling 384,733 ballots allegedly processed in a combined interval of 2 hour[s] and 38

  minutes” for four precincts/townships in four Michigan counties (Wayne, Oakland,

  Macomb, and Kent). Id. Based on Mr. Ramsland’s analysis of the voting machines

  available at the referenced locations, he determined that the maximum processing

  capability during this period was only 94,867 ballots, so that “there were 289,866 more

  ballots processed in the time available for processing in the four precincts/townships,

  than there was processing capacity.” Id. This amount alone is nearly twice the

  number of ballots by which Biden purportedly leads President Trump (i.e.,

  154,188). (See Am. Compl. at pars. 144-145).

          Mr. Ramsland further explains in depth in his declaration, which Defendants do

  not raise or discuss that:

          Mr. Ramsland’s analysis of the raw data, which provides votes counts,
          rather than just vote shares, in decimal form provides highly probative
          evidence that, in his professional opinion, demonstrates that Dominion
          manipulated votes through the use of an “additive” or “Ranked Choice
          Voting” algorithm (or what Dominion’s user guide refers to as the “RCV
          Method”). See id. at ¶12.[1] Mr. Ramsland presents the following example
          of this data – taken from “Dominion’s direct feed to news outlets” – in
          the table below. Id.




                                             36
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4526 Filed 02/05/21 Page 38 of 49




         Mr. Ramsland describes how the RCV algorithm can be implemented, and the

  use of fractional vote counts as evidence, with decimal places, rather than whole

  numbers, in demonstrating that Dominion did just that to manipulate Michigan votes.

         For instance, blank ballots can be entered into the system and treated as
         “write-ins.” Then the operator can enter an allocation of the write-ins
         among candidates as he wishes. The final result then awards the winner
         based on “points” the algorithm in the compute, not actual votes. The
         fact that we observed raw vote data that includes decimal places suggests
         strongly that this was, in fact, done. Otherwise, votes would be solely
         represented as whole numbers. Below is an excerpt from Dominion’s
         direct feed to news outlets showing actual calculated votes with
         decimals. Id.3

  (See ECF 6, Am. Compl. at ¶ ¶ 140-141).


  William Briggs / Matt Braynard

         Defendants spend the better part of three full pages in this motion for sanctions,

  disbarment and referral to disciplinary bodies, attacking the credibility of Dr. Briggs, a

  Ph.D. statistician, with over 100 peer reviewed publications and yet, quite tellingly

  Defendants did not mention the most pertinent and important part of Dr.

  Briggs’ analysis. (See ECF No. 78 at pp. 39-43). This was the estimate for how many

  ballots went missing, calculated from answers to the question (in short) "Did you return




  3
   See id. (quoting Democracy Suite EMS Results Tally and Reporting User Guide, Chapter 11, Settings
  11.2.2., which reads, in part, “RCV METHOD: This will select the specific method of tabulating
  RCV votes to elect a winner.”).



                                                  37
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4527 Filed 02/05/21 Page 39 of 49




  your ballot?" There can be no arguable ambiguity in that question. Dr. Briggs estimated

  that between about 28 to 35 thousand votes were returned but never recorded in

  Michigan. This represents significant voter disenfranchisement --which cannot be

  ignored.

     a. Plaintiffs’ Counsel Have Not Acted “Unreasonably or Vexatiously,” or
        Engaged in Any Reckless or Intentional Misconduct to Delay or Increase
        Defendants’ Costs.
         Even assuming arguendo that this claim were not barred as a matter of law, the

  State Defendants failed to allege that any specific conduct by Plaintiffs’ counsel, or

  factual allegation or legal claim in the pleadings, that could qualify as “unreasonabl[e]

  or vexatious[],” as required under Section 1927, or any specific reckless, bad faith or

  intentional misconduct required under controlling Sixth Circuit precedent.

         Instead, the State Defendants simply make blanket assertions that Plaintiffs’

  counsel has filed a “frivolous lawsuit” and “raised false allegations and pursued

  unsupportable legal theories.” ECF No. 78 at 44.

         Finally, the State Defendants engage in their own unsupported speculation that

  Plaintiffs’ co-counsel filed this lawsuit “hoping not to prevail but to damage

  democracy,” ECF No. 23, a reckless and defamatory claim. This highlights the lack of

  specificity in these allegations, with a blanket demand against all counsel whereas

  liability under Rule 11 is direct, and not vicarious.

     b. Many other attorneys, witnesses and legislative representatives have
        raised election integrity issues in the Presidential Election of 2020.


                                               38
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4528 Filed 02/05/21 Page 40 of 49




          Public reports have also highlighted wide-spread election fraud in the Contested

  States that prompted competing Electors’ slates.[1] In the Navarro report, it is shown

  that:


  At midnight on the evening of November 3, and as illustrated in Table 1, President
  Trump was ahead by more than 110,000 votes in Wisconsin and more than 290,000
  votes in Michigan. In Georgia, his lead was a whopping 356,945; and he led in
  Pennsylvania by more than half a million votes. By December 7, however, these wide
  Trump leads would turn into razor thin Biden leads –11,779 votes in Georgia, 20,682
  votes in Wisconsin, 81,660 votes in Pennsylvania, and 154,188 votes in Michigan.
  Id., Table 1: A Trump Red Tide Turns Biden Blue 4


          There was an equally interesting story unfolding in Arizona and Nevada.
          While Joe Biden was ahead in these two additional battleground states on
          election night –by just over 30,000 votes in Nevada and less than 150,000
          votes in Arizona.
  Id.

          Most recently, an attorney in Catania, Italy, Prof. Alfio D’Urso, testified that the

  US presidential election results were hacked and changed by foreign actors on

  November 4, 2020 and that a cyber operator was criminally charged for his role in

  admitted testimony of switching votes from Donald Trump to Joe Biden:


          Arturo D’Elia, former head of the IT Department of Leonardo SpA has
          been charged by the public prosecutor of Naples, Italy for technology / data
          manipulation and implementation, of viruses in main computers of Leonardo
          SpA. December 20, 2020. D’Elia has been deposed by the presiding judge in

  4
   See EXH. A, copy of Immaculate Deception, Six Key Dimensions of Election Irregularities, The
  Navarro Report, available at: https://bannonswarroom.com/wp-content/uploads/2020/12/The-
  Immaculate-Deception-12.15.20-1.pdf


                                                39
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4529 Filed 02/05/21 Page 41 of 49




        Naples, and in sworn testimony states that on 4 11 20, under instruction and
        direction of U.S. persons working from the U.S. Embassy in Rome, [he]
        undertook the operation to switch data from the U.S. election of 3 Nov. 20
        from significant margin of victory for Donald Trump to Joe Biden in a
        number of states where Joe Biden was losing the vote totals. Defendant
        states that he was working in Pascara facility of Leonardo SpA and utilized
        military grade cyber warfare encryption capabilities to transmit switched votes
        via military satellite of Fucino Tower to Frankfurt Germany...
  This Testimony is available and in an attached written affidavit. (See Exh. B).


        Defendants seek to allege, in a nutshell, that Plaintiffs filed a frivolous claim or

  it must be false, (similar to a res ipsa argument) because CISA issued a statement on

  November 12, 2020 that “the November 3rd Election was the most secure in American

  history.” (See ECF No. 78 at p. 8, f.n. 12). But12 days earlier CISA had issued a joint

  statement with the FBI, entitled a JOINT CYBERSECURITY ADVISORY ON

  October 30, 2020 titled:


  Iranian Advanced Persistent Threat Actor Identified Obtained Voter
  Registration Data
        This joint cybersecurity advisory was coauthored by the Cybersecurity and
        Infrastructure Security Agency (CISA) and the Federal Bureau of
        Investigation (FBI). CISA and the FBI are aware of an Iranian
        advanced persistent threat (APT) actor targeting U.S. state websites
        to include election websites. CISA and the FBI assess this actor is
        responsible for the mass dissemination of voter intimidation emails
        to U.S. citizens and the dissemination of U.S. election-related
        working on the computers. disinformation in mid-October 2020.1
        (Reference FBI FLASH message ME-000138-TT, disseminated October
        29, 2020). Further evaluation by CISA and the FBI has identified the
        targeting of U.S. state election websites was an intentional effort to
        influence and interfere with the 2020 U.S. presidential election.
  (See ECF 6, Pls. Am. Compl. (citing Ex. 18 at 1, CISA and FBI Joint Cyber
  Security Advisory of October 30, 2020)).

                                             40
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4530 Filed 02/05/21 Page 42 of 49




  Notably, on January 7, 2021 the Director of National Intelligence issued a report titled,

  “Views on Intelligence Community Election Security Analysis” which concludes:


         In that same spirit, I am adding my voice in support of the stated minority
         view – based on all available sources of intelligence, with definitions
         consistently applied, and reached independent of political considerations
         or undue pressure – that the People’s Republic of China sought to
         influence the 2020 U.S. federal elections, and raising the need for the
         Intelligence Community to address the underlying issues with China
         reporting outlines above.
  (See Exh. C, Copy of DNI report 01/07/21)
         Yet, this appeared as a non-partisan issue back in late December of 2019, when

  three Democrat Senators, Warren, Klobuchar, Wyden, and House Member Mark Pocan

  wrote about their ‘particularized concerns that secretive & “trouble -plagued

  companies”’ “have long skimped on security in favor of convenience,” in the

  context of how they described the voting machine systems that three large vendors –

  Election Systems & Software, Dominion Voting Systems, & Hart InterCivic –

  collectively provide voting machines & software that facilitate voting for over 90% of

  all eligible voters in the U.S.” (See Am. Compl. At p. 59, pars. G and H). Senator Ron

  Wyden (D-Oregon) said the findings [insecurity of voting systems] are “yet another

  damning indictment of the profiteering election vendors, who care more about the bottom line than

  protecting our democracy.” It’s also an indictment, he said, “of the notion that important




                                                 41
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4531 Filed 02/05/21 Page 43 of 49




  cybersecurity decisions should be left entirely to county election offices, many of whom do not employ a

  single cybersecurity specialist.” (See Id.5).

          Indeed, the House was highly critical of election integrity risks and passed H.R.

  2722 on June 27, 2019: This bill addresses election security through grant programs and

  requirements for voting systems and paper ballots.


  The bill establishes requirements for voting systems, including that systems (1) use individual, durable,
  voter-verified paper ballots; (2) make a voter's marked ballot available for inspection and
  verification by the voter before the vote is cast; (3) ensure that individuals with disabilities are given an
  equivalent opportunity to vote, including with privacy and independence, in a manner that produces a
  voter-verified paper ballot; (4) be manufactured in the United States; and (5) meet specified cybersecurity
  requirements, including the prohibition of the connection of a voting system to the
  internet.
  (See Congress.gov/H.R. 2722).

          The Michigan state Senate Oversight Committee held the hearing in or about

  early December, which included testimony from a former senator with expertise on

  data and technology who explained that the Voting machines were connected to the

  internet in Detroit. The witness spoke to the committee under oath about voting by

  dead people, a truck full of ballots coming into the counting center long after the

  deadline, and vulnerable voting machines[2]. Further, testimony among others

  including evidence of voters who voted absentee but had fake addresses or were

  deceased. Id.



  5
    Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite Official Denials,
  Motherboard Tech by Vice, by Kim Zetter, August 8, 2019, https://www.vice.com/en/article/3kxzk9/exclusive-
  critical-us-election-systems-have-been-left-exposed-online-despite-official-denials
                                                       42
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4532 Filed 02/05/21 Page 44 of 49




         “What I can say for sure, and swear to you here today, is that overall, 8.9%
         of the 30,000 absentee ballots that we’ve gone through and
         investigated, just in the city of Detroit, were unqualified, fraudulent
         ballots that should have been spoiled,” Schornak said. He extrapolated
         about how the 30,000 sample could reflect on all of the absentee votes
         cast. “At the lowest levels, if these percentages carry through, this means
         of the 172,000 [absentee votes] in the city of Detroit, 1,300 of them could
         be deceased,” he told the senators. “We are investigating it. And another
         15,000 could have fraudulent addresses, described as living on vacant lots
         or [in] burnt-down houses.”
         The claims of fraud in Michigan have gained widespread attention and attacks

  on witnesses credibility such as when the Michigan Oversight Committee heard from a

  witness who was an IT specialist for Dominion Voting Systems and she appeared and

  described what she called “complete fraud” at Detroit’s TCF Center[3]. She described

  the same ballots being repeatedly rescanned over and over. Id. While she is not an

  affiant in this case, this reflects Michigan’s Oversight Committee took statements from

  many people because the complaints on the lack of integrity reached far and wide within

  Michigan and within the Contested States.

         More recently, John Lott, Ph.D. recently did a study, first published in late

  December 2020 and updated January 6, 2021 called “A Simple Test for the Extent of Vote

  Fraud with Absentee Ballots in the 2020 Presidential Election: Georgia and Pennsylvania Data.”

  (See Exh D, copy of Dr. Lott’s Study). Dr. Lott’s conclusion addresses Michigan and

  other contested states:

         … The voter turnout rate data provides stronger evidence that there are
         significant excess votes in Arizona, Michigan, Nevada, and Wisconsin as
         well. While the problems shown here are large, there are two reasons to
         believe that they are underestimates: 1) the estimates using precinct level

                                               43
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4533 Filed 02/05/21 Page 45 of 49




        data assume that there is no fraud occurring with in-person voting and 2)
        the voter turnout estimates do not account for ballots for the opposing
        candidate that are lost, destroyed, or replaced with ballots filled out for
        the other candidate.

        We highlight the wide-spread complaints of election fraud separate and apart of

  Plaintiffs’ filing and evidence to show that many people have submitted evidence of

  reports and eye-witness testimony of fraud in the 2020 election.

        The State of Texas, along with Alabama, Arizona, Arkansas, Florida, Indiana,

  Kansas, Louisiana, Mississippi, Missouri, Montana, Nebraska, North Dakota,

  Oklahoma, South Carolina, South Dakota, Tennessee, Utah and West Virginia, sued

  the Defendant states, Michigan, Wisconsin, Georgia and the Commonwealth of

  Pennsylvania alleging that each of the Defendant states had election irregularities. (See

  Response to 1927 Motion).

     c. Moreover, Plaintiffs’ Complaint plead facts that the Defendant City does
        not actually dispute many facts plead in the Complaint.

               The first red flag is the Antrim County, Michigan “glitch” that
               switched 6,000 Trump ballots to Biden, and that was only
               discoverable through a manual hand recount. See supra Paragraph
               94. The “glitch” was later attributed to “clerical error” by
               Dominion and Antrim Country, presumably because if it were
               correctly identified as a “glitch”, “the system would be required to
               be ‘recertified’ according to Dominion officials. This was not
               done.” (See Am. Compl. at par. 136) (citing Exh. 104, Ramsland Aff.
               at ¶10. Mr. Ramsland points out that “the problem most likely did
               occur due to a glitch where an update file did not properly
               synchronize the ballot barcode generation and reading portions of
               the system.” Id. Further, such a glitch would not be an
               “isolated error,” as it “would cause entire ballot uploads to
               read as zero in the tabulation batch, which we also observed

                                             44
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4534 Filed 02/05/21 Page 46 of 49




               happening in the data (provisional ballots were accepted properly
               but in-person ballots were being rejected (zeroed out and/or
               changed (flipped)).” Id. Accordingly, Mr. Ramsland concludes that
               it is likely that other Michigan counties using Dominion may “have
               the same problem.” Id. (See Am. Compl. at par. 136)

               Tabulator issues and election violations occurred elsewhere in
               Michigan reflecting a pattern, where multiple incidents
               occurred. In Oakland County, votes flipped a seat to an incumbent
               Republican, Adam Kochenderfer, from the Democrat challenger
               when: “A computer issue in Rochester Hills caused them to
               send us results for seven precincts as both precinct votes and
               absentee votes. They should only have been sent to us as
               absentee votes,” Joe Rozell, Oakland County Director of
              Elections for the City of Huntington Woods, said.[4] (See Am.
              Compl. at pars. 131-132).
              The Oakland County flip of votes becomes significant because it
              reflects a second systems error, wherein both favored the
              Democrats, and precinct votes were sent out to be counted,
              and they were counted twice as a result until the error was caught
              on a recount. Precinct votes should never be counted outside of
              the precinct, and they are required to be sealed in the precinct. See
              generally, MCLS § 168.726. (See Id).
        These are just a few of the specific facts cited by Plaintiffs, which are not

  genuinely disputed, while Defendants cite to the Secretary of State’s opinion on a

  systems error, but Plaintiffs submit with both expert testimony in support, and the

  undisputed facts that two such incidents of “error” instead reflect evidence of a pattern

  of defects in the voting systems machines of tabulating ballots favoring one candidate

  not the other. Rather than allowing for a full investigation, these two well documented

  and known incidents -- which also include the legal violation of counting precinct

  ballots outside of the precinct, were instead summarily dismissed rather than reviewed

  substantively. The sheer gravity of those claims, and their implications on the integrity

                                             45
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4535 Filed 02/05/21 Page 47 of 49




  of our electoral system, justified counsel in pursuing every arguably permissible avenue

  to assist Plaintiffs in seeking redress.

     d. The State Defendants Failed to Identify Any “Discrete Acts of
        Misconduct” That Could Have Caused the City to Incur Any Additional
        Costs.
          As shown above, the City has not identified any “discrete acts of claimed

  misconduct,” Ruben, 825 F.2d at 990, much less shown that such purported misconduct

  “cause[d] additional expenses to” the City.” Id. at 984. Blanket and defamatory

  assertions cannot meet this requirement. In any case, all of City’s expenses are due to

  the City’s voluntary and unnecessary intervention in this proceeding. The City was not

  named as a party defendant to this action, but rather requested to intervene on its own

  motion following Plaintiffs’ filing of the initial complaint. (ECF No. 5). Indeed, neither

  the City, nor the other intervenors were a party to this action until this Court granted

  its motion to intervene by order entered December 2, 2020 (ECF No. 28), after

  Plaintiffs’ First Amended Complaint had already been filed. As a result, they do not

  have standing to make this claim, and even if the City could demonstrate that either the

  Complaint or the First Amended Complaint’s filing satisfied § 1927 (which it cannot),

  it cannot trace any expense to Plaintiffs’ counsel’s filing of the complaint. Since the City

  entered this litigation on its own motion after the action was already instituted, any

  sanctions must arise out the City’s expense resulting from some unreasonable and

  prolonging conduct occurring on or after the entry of Court’s order of December 2,

  2020.

                                               46
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4536 Filed 02/05/21 Page 48 of 49




  Plaintiffs’ counsel has not only done nothing to delay this proceeding, they have in fact

  taken every reasonable measure to expedite, and then to terminate the proceeding once

  their claims were no longer viable. This Court granted the request for expedited

  briefing, ECF No. 24, and based solely on the initial pleadings and responses, dismissed

  the TRO Motion a mere eight days later on December 7, 2020. ECF No. 62. Further,

  Plaintiffs have expeditiously, and concurrently within the 21 days of the service of the

  motion herein, moved for voluntary dismissal of the November 29, 2020 Amended

  Complaint, ECF No. 6.


                                     CONCLUSION
         For all the foregoing reasons, the Plaintiffs and their counsel respectfully request

  that this Honorable Court deny the State Defendants’ motions for an award of

  sanctions and attorneys’ fees Rule 11. (ECF 78 and 84). Moreover, the City of Detroit

  should be ordered to pay Plaintiffs’ legal fees for opposing this motion pursuant to

  Federal Rule of Civil Procedure 11(c)(2).


                                           Respectfully submitted,


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                                               47
Case 2:20-cv-13134-LVP-RSW ECF No. 109-1, PageID.4537 Filed 02/05/21 Page 49 of 49




                                        48
